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ll\l THE UNlTED STATES DISTRICT COURT
FOR THE D|STR[CT OF NORTH DAKOTA
EASTERN D|\/ES|ON

 

Unitecf States of America, Case No. '§:lS-CR-OOOSS

Piaintil'i,
v. SPEEDY TREAL VVAlVER

Daniel Ceron,

Defendant.

 

Defendant, DAN!EL CERON, hereby expressly Waives any rights he has
pursuant to the Speedy Triai Act, 18 U.S.C. §§ 3161-3174, 0r the United States
Constitution vvith respect to a speedy trial. The Act and applicable rights thereunder
have been explained to the undersigned by his attorney, and he acknowledges that
more than 70 days vvill elapse from the filing of the indictment or initial appearance until
iinai disposition ot this case The undersigned also expressly Waives his right to move

for dismissal of the charges on the grounds of a Speedy Tria| Act violation

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Dated this _Z/_ day of , 2018

 

FlscHER, Ru Tocl<, PLLc.

By

  

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